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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 JAMES D. EVANS                                      :        CIVIL ACTION
                                                     :
    v.                                               :        No. 22-1411
                                                     :
 CITY OF PHILADELPHIA, et al.                        :

                                                ORDER

         AND NOW, this 20th day of December, 2022, it is ORDERED the schedule in the above-

captioned matter is as follows:

   • Discovery deadline is April 17, 2023;

   • Plaintiff’s expert report is due May 1, 2023;

   • Defendants’ expert report is due May 8, 2023;

   • Dispositive motions are due May 22, 2023;

   • Responses to dispositive motions are due June 7, 2023;

   • Motions in limine are due June 22, 2023;

   • Responses to motions in limine are due July 6, 2023;

   • Plaintiff’s pre-trial memorandum is due July 6, 2023;

   • Defendants’ pre-trial memorandum is due July 6, 2023;

   • Joint requested points for charge, joint proposed verdict slip, and voir dire questions, as
   explained in the Honorable Juan R. Sánchez’s on-line procedures, are due July 6, 2023;

   • Final pre-trial conference shall be held on July 10, 2023, at 11:30 a.m. in Courtroom 14B;

   • Joint exhibit binder is to be submitted to chambers no later than 4:30 p.m. the day prior to
      trial;

   •     This matter is in the July 17, 2023, trial pool.

   •     Parties are referred to Judge Sánchez’s operating procedures for further information:
         http://www.paed.uscourts.gov/documents/procedures/sanpol.pdf.
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                                      BY THE COURT:


                                       /s/ Juan R. Sánchez
                                      Juan R. Sánchez, C.J.
